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19
                           UNITED STATES DISTRICT COURT
20                        CENTRAL DISTRICT OF CALIFORNIA
21   PINN, INC.,
                                                         CASE NO. 8:19-cv-1805
22                 Plaintiff,
23   v.                                                  COMPLAINT FOR PATENT
                                                         INFRINGEMENT
24   APPLE INC.,
25                 Defendant.                            DEMAND FOR JURY TRIAL
26

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 1         Pinn, Inc. files this Complaint against Apple, Inc. for infringement of U.S.
 2   Patent No. 9,807,491 (the “’491 Patent”).
 3         Pinn hereby provides notice of additional patent claims that have been
 4   published in connection with U.S. Pat. App. Ser. Nos. 15/563,937 and 15/694,736.
 5   In the case of the ’937 Application, Pinn has paid all required issue fees. Upon
 6   issuance, Plaintiff intends to amend this Complaint to assert forthcoming U.S. Patent
 7   Nos. 10,___,___ and 10,___,___.
 8                                          PARTIES
 9         1.     Pinn, Inc. (“Pinn” or “Plaintiff”) is a California Corporation with its
10   headquarters and principal place of business at 192 Technology Drive, Suite V, Irvine,
11   California 92618.
12         2.     Defendant Apple Inc. (“Apple” or “Defendant”) is a corporation
13   incorporated under the laws of California with its principal place of business at 1
14   Infinite Loop, Cupertino, California 95014.
15         3.     Apple may be served through its registered agent: CT Corporation
16   System, 818 West Seventh Street, Suite 930, Los Angeles, California 90017.
17                          JURISDICTION AND VENUE
18         4.     Pinn brings this action for patent infringement under the patent laws of
19   the United States, including 35 U.S.C. §§ 154, 271, 281, and 283-285. This Court has
20   subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
21         5.     Apple is subject to the general and specific personal jurisdiction of this
22   Court, based upon its regularly conducted business in the State of California and in
23   the Central District of California (“District”), including conduct giving rise to this
24   action.
25         6.     Apple conducts business and has committed, and continues to commit,
26   acts of direct and indirect infringement in California, within this District, and
27   throughout the United States, by, among other things, making, using, selling, or
28   offering for sale in the United States, and/or importing into the United States,

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 1   electronic devices and systems with wireless earbuds that embody one or more of the
 2   inventions claimed in the ’491 Patent.
 3          7.    Apple maintains regular and established places of business in this
 4   District, where it promotes, sells, offers for sale, uses, provides technical support for,
 5   develops, and demonstrates infringing products, including the Apple offices in Culver
 6   City and retail stores in Brea, Cerritos, Costa Mesa, Glendale, Los Angeles,
 7   Manhattan Beach, Mission Viejo, Newport Beach, Palm Desert, Pasadena, Rancho
 8   Cucamonga, San Luis Obispo, Santa Barbara, Santa Monica, and Thousand Oaks.
 9          8.    Apple sells infringing devices and systems and provides customer
10   service and technical support to retailers, customers, and other end users in this
11   District.
12          9.    Apple has established sufficient contacts with this forum such that the
13   exercise of jurisdiction over Defendant comports with traditional notions of fair play
14   and substantial justice.
15          10.   Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1400(b).
16          11.   In other patent infringement matters, Apple has admitted that it maintains
17   a regular and established place of business, and that venue is proper, in this District.
18   See, e.g., Limestone Memory Sys. LLC v. Defendant, Inc., Case No. 8:15-cv-01274
19   (C.D. Cal.) (Dkt. 27, ¶ 6); Data Scape Ltd. v. Defendant Inc., Case No. 2:18-cv-10659
20   (C.D. Cal.) (Dkt. 18, ¶ 5).
21                                  THE PINN PATENTS
22          12.   Defendant has infringed and continues to infringe one or more claims of
23   Pinn’s ’491 Patent. Defendant has also practiced and continues to practice the
24   claimed subject matter set forth in published claims of U.S. Pat. App. Ser. Nos.
25   15/563,937 (the “’937 App.”) and 15/694,736 (the “’736 App.”). The ’491 Patent and
26   U.S. Patent Nos. 10,___,___ and 10,___,___ (which will soon issue from the ’937
27   App. and ’736 App.) may be referred to as the Patents in Suit or collectively as the
28   Asserted Patents.

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 1         13.    Generally speaking, the Asserted Patents claim methods, apparatuses,
 2   and systems relating to a personal wireless media station having a wireless earbud and
 3   main body, wherein the wireless earbud is capable of pairing with a device, such as a
 4   smartphone, to receive and play audio data, and capable of connecting to an electric
 5   circuit in the main body, for wired communication with the main body when plugged
 6   into a connection hole of the main body.
 7         14.    Pinn is the assignee of all right, title, and interest in and to each of the
 8   Asserted Patents and has the exclusive right to assert all causes of action arising under,
 9   or that may arise under, the Asserted Patents, including the right to pursue and recover
10   any and all monetary and equitable remedies for infringement.
11               The ’491 Patent: “Electronic Device with Wireless Earbud”
12         15.    On October 31, 2017, the United States Patent and Trademark Office
13   (“USPTO”) issued the ’491 Patent following a full examination of U.S. Pat. App. Ser.
14   No. 15/625,935, which was filed October 2, 2017, and claims priority to PCT App.
15   No. PCT/US2016/025936 (filed on April 4, 2016) and U.S. Prov. App. No.
16   62/142,978 (filed April 3, 2015).
17         16.    Exhibit A is a true and correct copy of the ’491 Patent.
18         17.    The ’491 Patent describes a personal wireless media station that includes
19   a main body and wireless earbud.
20         18.    In reference to one disclosed embodiment, the ’491 Patent describes an
21   apparatus comprising a main body, a wireless earbud configured for plugging into a
22   connection hole of the main body to form a single integrated body, a user input button,
23   at least one processor, and at least one memory.
24         19.    Claim 1 of the ’491 Patent recites:
25                1. An apparatus comprising:
26
                        a main body comprising a connection hole, a user
27                input button, at least one processor and at least one
28                memory; and


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 1
                        a wireless earbud configured for plugging into the
                 connection hole of the main body to form a single
 2               integrated body with the main body,
 3                      wherein the wireless earbud has wireless
                 communication capability for wirelessly pairing with a
 4               smartphone and is configured to receive audio data from
 5               the smartphone and to play audio using the audio data
                 from the smartphone when wirelessly paired with the
 6               smartphone,
 7                      wherein in addition to wireless communication
                 capability for wireless pairing with the smartphone, the
 8               wireless earbud comprises an earbud connector for
 9               connecting with an electric circuit of the main body for
                 wired communication capability with the main body
10               when plugged into the connection hole,
11                      wherein, when wireless earbud is plugged into the
                 connection hole, the wireless earbud is configured to
12               perform wired two-way data communication with the
13               main body,
                        wherein the at least one processor of the main body
14               is configured to execute computer program instructions
15               stored in the at least one memory
                               for initiating the wireless pairing with the
16                      smartphone in response to pressing of the user
17                      input button provided on the main body,
                               for initiating battery charging of the wireless
18                      earbud in response to the wireless earbud's
19                      plugging into the connection hole, and
                               for turning off the wireless pairing with the
20                      smartphone when the wireless earbud is being
21                      charged.
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 1         20.    Figure 2 illustrates certain exemplary uses of an embodiment of the ’491
 2   Patent:
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           21.    The technologies and innovations recited in the claims of the ’491 Patent,

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     including Claim 1, provide inventive concepts and do not claim an abstract idea. The

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     individual elements of the claims of the ’491 Patent are not well-understood, routine,

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     or conventional. Instead, the claims of the ’491 Patent are directed to unconventional,

22
     inventive concepts that implement technical solutions to solve various problems,

23
     including problems unique to wireless earbud pairing, and that enhance the operation

24
     and functionality of wireless earbuds. As one example, the ’491 Patent provides a

25
     technical solution that eliminates the need to have unobstructed access to a

26
     smartphone’s inputs and outputs and facilitates pairing between the smartphone and

27
     the wireless earbud. See, e.g., ’491 Patent at 1:14-26.

28
           22.    The technological solutions taught by the ’491 Patent provide advantages


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 1   over, and improvements to, the state of the art at the time. For example, the teachings
 2   of the ’491 Patent improve the performance of a wireless earbud system by
 3   simplifying the pairing process and by providing a mechanism for charging wireless
 4   earbuds when away from a traditional power source.
 5         23.    The inventions and the limitations recited in the claims of the ’491
 6   Patent, whether alone or in combination with other limitations, embody a number of
 7   inventive concepts. For example, claim 1 of the ’491 Patent describes a consumer
 8   product or system featuring distributed intelligence and that features an earbud that
 9   communicates wirelessly with a smartphone and communicates via wired two-way
10   communication with the main body. The main body is configured to initiate wireless
11   pairing with a smartphone when a user presses the input button on the main body.
12   When plugged into the connection holes, the wireless earbuds are configured such
13   that the earbud batteries are charged by the main body and perform two-way data
14   communication with the main body. See, e.g., ’491 Patent at 1:45-49.
15     U.S. Pat. App. Ser. No. 15/563,937: “Mobile System with Wireless Earbud”
16         24.    Mr. Kim filed the ’937 App. on October 2, 2017, as a national stage entry
17   of PCT App. No. PCT/US2016/025936 (filed April 4, 2016) and claims priority from
18   U.S. Prov. App. Nos. 62/199,943 (filed July 31, 2015) and 62/142,978 (filed April 3,
19   2015).
20         25.    The USPTO published the ’937 App. on May 10, 2018.
21         26.    Since May 10, 2018, all papers in the ’937 App. file have been available
22   to the public.
23         27.    On August 28, 2019, the USPTO allowed claims 23-60 of the ’937 App.
24   (sometimes referred to as the “’937 App. Published Claims”).
25         28.    On September 3, 2019, Pinn paid the issue fee.
26         29.    The ’937 App. Published Claims will issue in a form substantially
27   identical to the claims listed in Exhibit B.
28         30.    Original claim 23 of the ’937 App. (final claim 1 in the patent to issue)

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 1   recites:
 2                 A mobile system comprising:
 3
                         a base station comprising a connection hole, a user
                  input button, at least one processor, at least one memory,
 4                and circuitry; and
 5                       a wireless earbud configured for plugging into the
                  connection hole of the base station to form an integrated
 6                body with the base station,
 7                       wherein the system is capable of wirelessly pairing
                  with a smartphone for the wireless earbud to receive
 8                audio data originated from the smartphone,
 9                       wherein, in response to pressing of the user input
                  button, the at least one processor is configured to execute
10                computer program instructions stored in the at least one
11                memory to initiate processing for the wireless pairing
                  with the smartphone such that the wireless earbud
12                receives audio data originated from the smartphone and
13                plays audio using the audio data from the smartphone,
                         wherein, in response to plugging the wireless
14                earbud into the connection hole, the at least one processor
15                is configured to execute computer program instructions
                  stored in the at least one memory to initiate charging of a
16                battery of the wireless earbud,
17                       wherein, when the wireless earbud is plugged into
                  the connection hole of the base station, the wireless
18                earbud is configured to electrically connect with the
19                circuitry of the base station and further configured to
                  performing wired data communication with the base
20                station.
21

22          31.   The particular combination of elements in claim 23 of the ’937 App. was

23   not well-understood, routine, or conventional to persons of skill in the art at the time

24   of the invention. Instead, the ’937 App. Published Claims are directed to

25   unconventional, inventive concepts disclosed in the specification.

26          32.   Whether alone or in combination with other limitations, the claimed

27   inventions and limitations recited in the ’937 App. Published Claims embody a

28   number of inventive concepts. Claim 23, for example, describes, among other things,


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 1   a mobile system having distributed intelligence and that enables wireless pairing of
 2   an earbud and smartphone in response to pressing a user input button and a base
 3   station featuring a connection hole into which an earbud is plugged for charging and
 4   wired data communication.
 5         33.   For example, in one embodiment described in original claim 43 of the
 6   ’937 App., “the at least one processor is configured to execute computer program
 7   instructions stored in the at least one memory to turn off the wireless pairing while
 8   the wireless earbud is being charged.”
 9         34.   As illustrated in Figure 1 (excerpted below), the earbud connector of the
10   wireless earbud is mateable with the main body connector of the main body. The
11   specification further describes: “The wireless earbud and the main body form a single
12   integrated body when the earbud connector and the main body connector are
13   connected with each other.”
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22                       U.S. Pat. App. Ser. No. 15/694,736:
23       “Personal Media System Including Base Station and Wireless Earbud”
24
           35.    Mr. Kim filed the ’736 App. on September 1, 2017, as a continuation of
25
     U.S. Pat. App. Ser. No. 15/625,935 (filed June 16, 2017), which is a continuation of
26
     PCT App. No. PCT/US2016/025936 (filed April 4, 2016), claiming priority to U.S.
27
     Prov. App. No. 62/142,978.
28


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  1         36.    The USPTO published the ’736 App. on December 28, 2017.
  2         37.    Since December 28, 2017, all papers in the ’736 App. file have been
  3   available to the public.
  4         38.    On June 19, 2019, the USPTO allowed claims 1-29 of the ’736 App.
  5   (sometimes referred to as the “’736 App. Published Claims”).
  6         39.    The ’736 App. Published Claims are expected to issue in a form
  7   substantially identical to the claims listed in Exhibit C.
  8         40.    Claim 1 of the ’736 App. recites:
  9
                   A mobile system comprising:
 10                       a mobile base station comprising a connection
 11                hole, a user input button, at least one processor, at least
                   one memory, and circuitry; and
 12                       a wireless earbud configured for plugging into the
 13                connection hole of the mobile bases station to form an
                   integrated body with the mobile base station,
 14                       wherein, while the wireless earbud in plugged in
 15                the connection hole of the mobile base station, the
                   wireless earbud is configured to electrically connect with
 16                the circuitry of the mobile base station and further
 17                configured to perform wired data communication with
                   the mobile base station,
 18                       wherein, while the wireless earbud is plugged in
 19                the connection hole of the mobile base station, the
                   circuitry of the mobile base station is configured to obtain
 20                characteristics of the wireless earbud and send the
 21                characteristics to the at least one processor,
                          wherein, while the wireless earbud is plugged in
 22                the connection hole of the mobile base station, the at least
 23                one processor is configured to execute computer program
                   instructions stored in the at least one memory to initiate
 24                charging of a battery of the wireless earbud,
 25                       wherein the wireless earbud has wireless
                   communication for wireless pairing with a smartphone to
 26                perform data communication with the smartphone,
 27                       wherein the mobile system is configured to
                   generate sound when a mobile application installed on the
 28                smartphone is searching for the mobile system while the

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  1
                   wireless earbud is paired with the smartphone,
                          wherein, in response to pressing of the user input
  2                button of the mobile base station, the at least one
  3                processor is configured to execute computer program
                   instructions stored in the at least one memory to initiate
  4                processing for the wireless pairing,
  5                       wherein the wireless earbud is not capable of
                   wirelessly sending data to the mobile base station.
  6

  7         41.    The particular combination of elements recited in claim 1 of the ’736
  8   App. was not well-understood, routine, or conventional to persons of skill in the art
  9   at the time of the invention. Instead, the claimed subject matter is directed to
 10   unconventional, inventive concepts disclosed in the specification.
 11         42.    Whether alone or in combination with other limitations, the claimed
 12   inventions and limitations recited in the ’736 App. Published Claims embody a
 13   number of inventive concepts. Claim 1, for example, describes, among other things,
 14   a mobile system featuring distributed intelligence, that enables wireless pairing of an
 15   earbud and smartphone to perform data communication with the smartphone, and
 16   enables emission of sound when a mobile application installed on the smartphone is
 17   searching for the mobile system while the earbud is paired.
 18         43.    The specification of the ’736 App. describes at least one embodiment
 19   that features an application for finding a personal wireless media station within the
 20   station’s communication range and for monitoring and controlling various features of
 21   the personal wireless media station, such as battery level.
 22         44.    In at least one embodiment of the device finder, Pinn Finder beeps and
 23   blinks when the mobile app is searching for the Pinn device.
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  1                                        PINN, INC.
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            45.    Pinn was founded by Seung Jin (“Sean”) Kim in 2015, with a vision
  6
      toward designing and developing wearable technology that enhances the smartphone
  7
      experience and eliminates frustrating phone problems like trying to locate and retrieve
  8
      your phone quickly to answer an incoming call.
  9
            46.    Pinn is headquartered, and Mr. Kim resides, in Irvine, California.
 10
            47.    Pinn’s product inventory, company files, and documents relating to the
 11
      Patents in Suit and claims in this lawsuit are located in Irvine.
 12
            48.    Sean Kim received a bachelor’s degree in Music Composition and
 13
      Orchestra Conduction from Seoul National University in 2003. In addition to being
 14
      an accomplished composer, Mr. Kim is an entrepreneur and inventor.
 15
            49.    While serving as an IP and business consultant to Deca International
 16
      Corporation, Mr. Kim developed and helped Deca commercialize a variety of GPS-
 17
      based golf rangefinders, voice-based products, and laser-based rangefinders.
 18
            50.    After Deca, Mr. Kim worked with AQ Corporation, a mobile nearfield
 19
      communication company. He assisted AQ in developing its intellectual property
 20
      assets and helped direct AQ’s research and development efforts. While at AQ, Mr.
 21
      Kim worked on the design of an interactive, event-specific digital signage platform
 22
      for use on mobile devices, called Anniver.
 23
            51.    Recognizing the need for a personal media system with simplified
 24
      operation and structure, Mr. Kim conceived of the Pinn device in 2014 and founded
 25
      Pinn Inc. the following year to develop a first-generation wearable product that would
 26
      provide consumers with an easier way to use their smartphones, by simplifying and
 27
      enhancing the wireless capabilities and operation of the device. Mr. Kim recognized
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  1   that a system having distributed intelligence and processing, along with an integrated
  2   modular design, would improve ease of use and functionality.
  3         52.    The USPTO recognized Mr. Kim’s innovations by granting the first of
  4   his Pinn patents, the ’491 Patent, in 2017.
  5         53.    Pinn proved Mr. Kim’s concept in October 2015 and successfully
  6   launched the Pinn product soon after. Pinn became available to the public in 2017.
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 18         54.    Pinn includes a wireless earbud that is docked and integrated into the
 19   Pinn clip or main body.
 20         55.    Pinn wirelessly connects to a user’s smartphone via Bluetooth.
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  1               APPLE AIRPODS WIRELESS MEDIA SYSTEM
  2         56.   Apple makes, has made, uses, sells, and offers for sale in the United

  3   States and imports into the United States various versions of a wireless media system

  4   that practice the Pinn Patents in Suit: Apple AirPods 1st Gen., AirPods 2nd Gen., and

  5   Powerbeats Pro.

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  1           57.   Apple started selling the first generation AirPods in or around December
  2   2016.
  3           58.   Apple started selling the second generation AirPods in or around March
  4   of 2019.
  5           59.   In normal operation, AirPods connect via Bluetooth to Apple’s iPhone
  6   or Apple Watch products, and “sound switches seamlessly between the devices.” See
  7   www.apple.com/airpods/.
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  1         60.   To use Apple AirPods, Apple encourages users to use a compatible
  2   Apple device:
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 17                      https://support.apple.com/en-us/HT207010
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 19         61.   Apple AirPods include a charging case that features a connection hole
 20   for each earbud.
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  1         62.    When AirPod earbuds are plugged in a connection hole of the base
  2   station, they form an integrated body with the case.
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 13         63.    In normal charging operation, the AirPod earbuds connect via electrical
 14   connector to an electric circuit in the main body of the case and receive a charging
 15   signal.
 16         64.    Electrical contacts for charging the AirPod earbuds are located in the
 17   connection hole for each earbud.
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  1         65.   The Apple AirPod case main body features a user input button.
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 14         66.   The main body of the Apple AirPod case comprises at least one processor
 15   and at least one memory.
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  1
            67.    At least one processor of the AirPod main body executes instructions for

  2   initiating Bluetooth pairing in response to pressing the user input button.
  3
            68.    At least one processor of the AirPod main body executes instructions for
  4

  5   initiating battery charging of the wireless earbuds when placed in the connection hole

  6   and for turning off Bluetooth pairing when an earbud is being charged.
  7
            69.    In normal operation, when paired wirelessly to a smartphone (e.g., an
  8

  9   iPhone or Apple Watch) Apple AirPods receive audio data from the smartphone and

 10   play audio using the audio data from the smartphone.
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            70.    The main body of the Apple AirPod case comprises at least three
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 13   integrated circuits: an MCU with memory and connectivity, a charging IC, and a

 14   power management IC.
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  1         71.   Apple’s AirPods are configured to perform wired two-way data
  2   communication with the charging case.
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  1         72.   Apple AirPods are configured to provide battery status to a smartphone
  2   for display on a mobile application of the smartphone.
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 28                       https://support.apple.com/en-us/HT207012


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  1         73.    Mobile applications on an iPhone or other compatible smartphone may
  2   be used to control AirPod functions. For example, a user may use the Siri mobile
  3   assistant application to adjust volume.
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                           https://support.apple.com/en-us/HT207010
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  1         74.    AirPod earbuds do not pair with the charging case.
  2         75.    AirPod earbuds are incapable of wirelessly communicating with the
  3   mobile base station.
  4         76.    Apple sells AirPods with a mobile base station that includes a connection
  5   hole, a user input button, at least one processor, at least one memory, and circuitry.
  6   The AirPod system is designed and intended to be used by plugging the earbuds into
  7   connection holes of the base station for charging and two-way wired data
  8   communication.
  9         77.    At least one processor in the AirPod base station controls shut down and
 10   charging of the earbuds when they are plugged in the connection holes.
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                             https://support.apple.com/en-us/HT207010
 18

 19         78.    Apple’s Find My AirPods feature provides the option to play a sound

 20   from the AirPod earbuds to locate an earbud.

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 22                                           NOTICE
 23         79.    In October 2016, on behalf of Pinn, Mr. Kim contacted Apple by e-mail

 24   and provided information about Pinn, its technology, and the inventions claimed in

 25   the Patents in Suit.

 26         80.    In emails to Adrian Perica and Tim Cook, Mr. Kim provided details

 27   about Pinn, Inc., a link to Pinn’s website, and documentation about the Pinn.

 28         81.    On October 22, 2017, Mr. Perica responded by stating, “Thanks for


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  1   reaching out, but this is a pass for us.”
  2         82.    Mr. Kim provided a list of Pinn’s intellectual property assets at the time
  3   and specifically identified the pending application from which the ’491 Patent issued:
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 15         83.    Apple has been aware of Pinn’s ’491 Patent since at least the date it was
 16   cited during prosecution of Apple’s later-filed patent applications. For example,
 17   Apple’s U.S. Patent No. 10,042,595 references the ’491 Patent:
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            84.    Apple’s U.S. Patent No. 10,042,595 relates to the Apple AirPods.
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            85.    Pinn has complied with 35 U.S.C. § 287.
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  1      COUNT I: DIRECT INFRINGEMENT OF U.S. PATENT NO. 9,807,491
  2         86.    Pinn realleges and incorporates by reference the allegations set forth in
  3   the preceding paragraphs as if set forth here in full.
  4         87.    As the owner of the ’491 Patent, Pinn holds all substantial rights in and
  5   to the ’491 Patent, including the right to exclude others from practicing its patented
  6   inventions, the right to enforce the ’491 Patent, and the right to sue and recover
  7   damages for infringement of, the ’491 Patent.
  8         88.    Apple has no authority or license to practice the inventions claimed in
  9   the ’491 Patent.
 10         89.    The ’491 Patent is valid, enforceable, and was duly issued in full
 11   compliance with Title 35 of the United States Code after a full and fair examination
 12   by the USPTO.
 13         90.    Apple has infringed and continues to infringe at least claims 1, 9, and 10
 14   of the ’491 Patent by, among other things, making, using, selling, and offering for
 15   sale in the United States, and/or importing into the United States – without license or
 16   authority – products, devices, or systems, including Apple AirPods and Powerbeats
 17   Pro wireless earbuds (the “Accused Products”) that fall within the scope of one or
 18   more claims of the ’491 Patent in violation of at least 35 U.S.C. § 271(a).
 19         91.    Apple’s infringing conduct has been, and continues to be, willful,
 20   intentional, and carried out with actual knowledge of the ’491 Patent.
 21         92.    Since receiving notice of the ’491 Patent, Apple has continued to
 22   perform acts of infringement and has taken no steps to modify the Accused Products
 23   or to instruct end users and customers how to use the Accused Products in a way that
 24   avoids infringement.
 25         93.    As a result of Apple’s past infringing conduct, Apple is liable to Pinn in
 26   an amount that adequately compensates it for Apple’s infringement, which, by law,
 27   can be no less than a reasonable royalty, together with interest and costs as fixed by
 28   this Court under 35 U.S.C. § 284.

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  1         94.    As a result of Apple’s ongoing infringing conduct described in this
  2   Count, Pinn will continue to be damaged unless Apple is enjoined from further
  3   infringement.
  4     COUNT 2: INDIRECT INFRINGEMENT OF U.S. PATENT NO. 9,807,491
  5         95.    Plaintiff realleges and incorporates by reference the factual allegations
  6   set forth in the preceding paragraphs as if set forth here in full.
  7         96.    Apple is liable for indirect infringement of at least claims 1, 9, and 10 of
  8   the ’491 Patent by knowingly encouraging, aiding, and directing others (e.g., end
  9   users and customers) to use and operate the Accused Products in an infringing manner
 10   and to perform the claimed methods of the ’491 Patent.
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 22         97.    Apple has actual knowledge of Pinn’s ’491 Patent and has been and is
 23   on notice of the ’491 Patent, the Accused Products that infringe the ’491 Patent, and
 24   the manner in which such products infringe.
 25         98.    Apple encourages, directs, aids, and abets the use, assembly,
 26   configuration, and installation of the Accused Products, which have no substantial
 27   non-infringing uses.
 28         99.    Apple specifically intends the Accused Products to be used and operated

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  1   to infringe one or more claims of the ’491 Patent.
  2         100. By providing manuals, advertising, instructional documentation and
  3   videos, and technical support (e.g., Apple Care), Apple encourages and instructs end
  4   users and customers to use and operate the Accused Products in an infringing manner.
  5         101. For example, despite having knowledge of the ’491 Patent, Apple has
  6   provided, and continues to provide, instructional materials, such as user guides, owner
  7   manuals, and online resources (e.g., https://support.apple.com/en-us/HT207010) that
  8   teach and encourage customers and other end users to use the Accused Products in an
  9   infringing manner. Apple actively induces infringement of the ’491 Patent.
 10         102. The Accused Products include hardware components and software
 11   instructions that operate in concert to perform specific, intended functions that
 12   constitute material parts of the inventions claimed in the ’491 Patent and are not staple
 13   articles of commerce suitable for substantial non-infringing use.
 14         103. For example, the Accused Products include circuitry configured to
 15   operate in combination with software instructions to perform specific functions, such
 16   as pairing, playing audio data received from a smartphone, and initiating charging of
 17   wireless earbuds, claimed in the ’491 Patent. Such hardware and software have no
 18   substantial non-infringing use.
 19         104. Apple’s infringing conduct has been and continues to be willful,
 20   intentional, and carried out with actual knowledge of the ’491 Patent.
 21         105. Since receiving notice of the ’491 Patent, Apple has continued to
 22   perform acts of indirect infringement and has taken no steps to modify the Accused
 23   Products or instruct end users or customers how to use the Accused Products in a way
 24   to avoid infringement.
 25         106. As a result of Apple’s past infringing conduct, Apple is liable to Pinn in
 26   an amount that adequately compensates it for Apple’s infringement, which by law can
 27   be no less than a reasonable royalty, together with interest and costs as fixed by this
 28   Court under 35 U.S.C. § 284.

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  1           107. As a result of Apple’s ongoing infringing conduct described in this
  2   Count, Pinn will continue to be damaged unless Apple is enjoined from further
  3   infringement.
  4        COUNT 3: NOTICE OF CLAIMS OF U.S. APP. SER. NO. 15/563,937
  5           108. Pinn realleges and incorporates by reference the factual allegations set
  6   forth in the preceding paragraphs as if set forth here in full.
  7           109. Pinn is the owner, by assignment, of the ’937 App. and holds all
  8   substantial rights in and to the ’937 App., including the right to enforce any patent
  9   that may issue therefrom and the right to pursue and recover all infringement damages
 10   that may flow from infringement of any such patent.
 11           110. The Patent Office published the ’937 App. on May 10, 2018.
 12           111. The Patent Office allowed Claims 23-60 of the ’937 App. on August 28,
 13   2019.
 14           112. Claims 23-60 will issue in a form substantially identical to those shown
 15   in Exhibit B.
 16           113. The ’937 App., Claims 23-60, will issue in full compliance with Title 35
 17   of the United States Code.
 18           114. Apple has practiced and is currently practicing at least allowed claims
 19   23, 24, 26, 28, 31, 32, 34, 36, 43, 46-50, 52, 56, and 58 of the ’937 App. by, among
 20   other things, making, using, selling, and offering for sale in the United States, and/or
 21   importing in to the United States, products, devices, or systems including the Accused
 22   Products, that fall within the scope of these claims.
 23           115. Upon issuance of U.S. Patent No. 10,___,___ from the ’937 App., Apple
 24   will be infringing, directly and indirectly, at least claims 23, 24, 26, 28, 31, 32, 34,
 25   36, 43, 46-50, 52, 56, and 58.
 26           116.    The Accused Products feature a charging case that charges wireless
 27   earbuds via a wired connection in a connection hole, a user input button, at least one
 28   processor, and at least one memory.

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 12           117. Each wireless earbud plugs in a connection hole to form an integrated
 13   body.
 14           118. In normal operation, the wireless earbuds of the Accused Products pair
 15   with a smartphone via Bluetooth, receive audio data from the smartphone (e.g., an
 16   Apple iPhone or Apple Watch), and play audio using the audio data from the iPhone
 17   or Apple Watch when paired wirelessly.
 18           119. The Accused Products feature an earbud connector for connecting with
 19   an electrical circuit of the main body for wired data communication.
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 25           120. The Accused Products are configured such that they do not transmit data
 26   wirelessly between the AirPods and the base station charging case.
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  1         121. Apple’s Find My AirPods application runs on a smartphone (e.g., iPhone
  2   or Apple Watch), and the system is configured such that one or more of the wireless
  3   earbuds may emit sound while paired with the smartphone.
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            122. Upon issuance of the patent, Apple’s conduct will constitute
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      infringement.
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            123. Upon issuance of the patent, Apple’s infringing conduct will entitle Pinn
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      to damages that adequately compensate Plaintiff for Apple’s conduct, including
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      damages in an amount no less than a reasonable royalty, together with interest and
 20
      costs as fixed by this Court.
 21
           COUNT 4: NOTICE OF CLAIMS OF U.S. APP. SER. NO. 15/694,736
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            124. Plaintiff realleges and incorporates by reference the factual allegations
 23
      set forth in the preceding paragraphs as if set forth here in full.
 24
            125. Plaintiff is the owner, by assignment, of the ’736 App. and holds all
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      substantial rights in and to the ’736 App., including all rights associated with any
 26
      patent that may issue therefrom.
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            126. Upon issuance of any patent from the ’736 App., Plaintiff will hold all
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  1   substantial rights in and to such patent, including the right to enforce such patent and
  2   the right to pursue and recover all infringement damages that may flow from
  3   infringement of such patent.
  4         127. The Patent Office published the ’736 App. on December 28, 2017.
  5         128. The Patent Office initially allowed claims 1-29 of the ’736 App. on June
  6   19, 2019.
  7         129. Claims 1-29 are expected to issue in a form substantially identical to
  8   those shown in Exhibit C, in full compliance with Title 35 of the United States Code.
  9         130. Apple has practiced and is currently practicing at least claims 1, 3, 5, 9,
 10   12, 13, 15-19, 21, 25, 27 and 29 of the ’736 App. by, among other things, making,
 11   using, selling, and offering for sale in the United States, and/or importing into the
 12   United States, products, devices, or systems, including the Accused Products, that fall
 13   within the scope of these claims.
 14         131. Upon issuance of U.S. Patent No. 10,___,___ from the ’736 App., Apple
 15   will be infringing, directly and indirectly, at least claims 1, 3, 5, 9, 12, 13, 15-19, 21,
 16   25, 27 and 29.
 17         132. The Accused Products include a charging case comprising a connection
 18   hole, input button, at least one processor, at least one memory and circuitry, and a
 19   wireless earbud configured for plugging into the connection hole of the charging base
 20   station to form an integrated body with the charging case.
 21         133. The earbuds of the Accused Products are configured to electrically
 22   connect with the circuitry of the charging base station to perform wired data
 23   communication. When plugged in, the wireless earbuds are charged, and circuitry in
 24   the charging base station is configured to obtain characteristics, such as wireless
 25   earbud battery levels, and to send the information to a processor.
 26         134. In normal operation, earbuds of the Accused Products pair wirelessly via
 27   Bluetooth with a smartphone (e.g., iPhone or Apple Watch). Pairing may be initiated
 28   by pressing a user input button on the charging base station. The earbuds of the

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  1   Accused Products do not wirelessly communicate with the charging base station.
  2         135. Apple’s Find My AirPods application runs on a smartphone (e.g., iPhone
  3   or Apple Watch), and the system is configured such that one or more of the wireless
  4   earbuds may emit sound while paired with the smartphone.
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 15         136. Upon issuance of the patent, Apple’s conduct will constitute
 16   infringement.
 17         137. Upon issuance of the patent, Apple’s conduct will entitle Pinn to
 18   damages that adequately compensate Plaintiff for Apple’s conduct, including
 19   damages in an amount no less than a reasonable royalty, together with interest and
 20   costs as fixed by this Court.
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  1          NOTICE OF REQUIREMENT OF LITIGATION HOLD
  2         138. Apple is hereby notified that it is legally obligated to locate, preserve,
  3   and maintain all records, notes, drawings, documents, data, communications,
  4   materials, electronic recordings, audio/video/photographic recordings, and digital
  5   files, including edited and unedited or “raw” source material, and other information
  6   and tangible things that Apple knows, or reasonably should know, may be relevant to
  7   actual or potential claims, counterclaims, defenses, and/or damages by any party or
  8   potential party in this lawsuit, whether created or residing in hard copy form or in the
  9   form of electronically stored information (hereafter, “Potential Evidence”). As used
 10   above, the phrase “electronically stored information” includes, without limitation:
 11   computer files (and file fragments), e-mail (both sent and received, whether internally
 12   or externally), information concerning e-mail (including but not limited to logs of e-
 13   mail history and usage, header information, and deleted but recoverable e-mails), text
 14   files (including drafts, revisions, and active or deleted word processing documents),
 15   instant messages, audio recordings and files, video footage and files, audio files,
 16   photographic footage and files, spreadsheets, databases, calendars, telephone logs,
 17   contact manager information, internet usage files, and all other information created,
 18   received, or maintained on any and all electronic and/or digital forms, sources and
 19   media, including, without limitation, any and all hard disks, removable media,
 20   peripheral computer or electronic storage devices, laptop computers, mobile phones,
 21   personal data assistant devices, Blackberry devices, iPhones, video cameras and still
 22   cameras, and any and all other locations where electronic data is stored. These sources
 23   may also include any personal electronic, digital, and storage devices of any and all
 24   of Defendant’s agents, resellers, or employees, if Defendant’s electronically stored
 25   information resides there.
 26         139. Apple is hereby further notified and forewarned that any alteration,
 27   destruction, negligent loss, or unavailability, by act or omission, of any Potential
 28   Evidence may result in damages or a legal presumption by the Court and/or jury that

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  1   the Potential Evidence is not favorable to Defendant’s claims and/or defenses. To
  2   avoid such a result, Defendant’s preservation duties include, but are not limited to,
  3   the requirement that Defendant immediately notify its agents and employees to halt
  4   and/or supervise the auto-delete functions of Defendant’s electronic systems and
  5   refrain from deleting Potential Evidence, either manually or through a policy of
  6   periodic deletion.
  7                                 PRAYER FOR RELIEF
  8          Pinn prays for the following relief:
  9          (i)     Judgment that Apple has directly infringed the ’491 Patent;
 10          (ii)    Judgment that Apple has indirectly infringed the ’491 Patent;
 11          (iii)   Judgment that the ’491 Patent is valid and enforceable;
 12          (iv)    An award of damages adequate to compensate Pinn for Apple’s direct
 13   and indirect infringement up to and including the date such judgment is entered, to
 14   the full extent damages are available under 35 U.S.C. §§ 154(d), 284, or otherwise,
 15   along with prejudgment and post-judgment interest at the highest allowable rates;
 16          (v)     An award of enhanced and/or treble damages, pursuant to 35 U.S.C. §
 17   284;
 18          (vi)    Judgment that this case is exceptional, along with a corresponding award
 19   of reasonable attorney fees, pursuant to 35 U.S.C. § 285;
 20          (vii) Costs and disbursements, pursuant to Fed. R. Civ. P. 54(d), 28 U.S.C. §
 21   1920, 35 U.S.C. § 284, or otherwise;
 22          (viii) An accounting;
 23          (ix)    A permanent injunction, or, alternatively (if the Court declines to grant
 24   injunctive relief), and to the extent calculable, damages adequate to compensate Pinn
 25   for Apple’s ongoing or future infringement; and
 26          (x)     Such other and further relief, whether at law or in equity, as the Court
 27   deems just and proper.
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  1                           DEMAND FOR JURY TRIAL
  2         Pinn demands trial by jury for all issues so triable, pursuant to Fed. R. Civ. P.
  3   38(b) and Civil L.R. 3-6(a).
  4

  5    Filed September 20, 2019           By /s/ Ryan E. Hatch
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